           CASE 0:21-cv-01332-PJS-DTS Doc. 35 Filed 07/14/21 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 MICHAEL J. LINDELL,

                   Plaintiff,                                     Case No. 21-cv-01332

           vs.

 US DOMINION, INC., DOMINION VOTING                        ORDER EXTENDING TIME TO
 SYSTEMS, INC., DOMINION VOTING                            ANSWER OR OTHERWISE
 SYSTEMS CORPORATION, SMARTMATIC                           PLEAD
 USA CORP., SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO CORPORATION
 LIMITED,

                   Defendants.

       Based upon the stipulation (ECF No. 33) entered by Plaintiff Michael J. Lindell and

 Defendants Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

 Corporation Limited, IT IS ORDERED that Defendants Smartmatic USA Corp.,

 Smartmatic International Holding B.V., and SGO Corporation Limited shall have until

 the later of the following to answer or otherwise respond to Plaintiff’s Complaint:

      1.         October 7, 2021; or

      2.         a deadline set by the Court at the status conference or hearing date scheduled

                 pursuant to Point 2 of the Court’s Order dated July 7, 2021 (ECF No. 19 at 2).


 SO ORDERED this 14th day of July, 2021




s/Patrick J. Schiltz
Patrick J. Schiltz
United States District Judge
